                           Case 8:17-cr-00302-WFJ-CPT Document 73-1 Filed 06/09/20 Page 1 of 5 PageID 637




       BOP-Reported COVID-19 Test Results Nationwide1                                 5/15/2020      2296           1874           55           275          287     0
                                                                                      5/16/2020      2280           1950           56           283          287     0
                                                                                      5/17/2020      2319           1955           56           284          287     0
                Number       Number                     Number       Number           5/18/2020      2338           1971           57           196          375     0
                                           Number                                  Number
                   of           of                        of            of                   Total BOP
      Date                                of Inmate                                of Staff
                                                                                      5/19/2020      2298           2109           57           198          375     0
                Positive    Recovered                   Positive    Recovered                   Cases
                                           Deaths                                  Deaths
                                                                                      5/20/2020      2267           2177           58           188          389     0
                Inmates      Inmates                     Staff        Staff
                                                                                      5/21/2020      1735           2767           59           191          392     0
    3/20/2020     0                           0            2                          0
                                                                                      5/22/2020   2  1594           3047           59           194          394     0
    3/21/2020     1                           0            2                          0
                                                                                      5/23/2020   3 1603            3057           59           194          395     0
    3/22/2020     1                           0            2                          0
                                                                                      5/24/2020   3 1558            3144           59           186          403     0
    3/23/2020     3                           0            3                          0
                                                                                      5/25/2020   6 1556            3144           59           175          414     0
    3/24/2020     6                           0            3                          0
                                                                                      5/26/2020   9 1577            3180           64           181          413     0
    3/25/2020     6                           0            3                          0
                                                                                      5/27/2020   9 1747            3232           64           187          413     0
    3/26/2020     10                          0            8                          0           18
    3/27/2020     14                          0           13                          0           27
    3/28/2020     19                          1           19                          0           39
    3/29/2020     19                          1           19                          0           39
    3/30/2020     28                          1           24                          0           53
    3/31/2020     29                          1           30                          0           60
     4/1/2020     57                          3           37                          0           97
     4/2/2020     75                          6           39                          0          120
     4/3/2020     91                          7           50                          0          148
     4/4/2020    120                          8           54                          0          182
     4/5/2020    138                          8           59                          0          205
     4/6/2020    196                          8           63                          0          267
     4/7/2020    241                          8           72                          0          321
     4/8/2020    272                          8           105                         0          385
     4/9/2020    283            14            8           125            7            0          437
    4/10/2020    318            15            9           163            8            0          513
    4/11/2020    335            15            9           185            12           0          556
    4/12/2020    352            19            10          189            12           0          582
    4/13/2020    388            19            13          201            12           0          633
    4/14/2020    446            20            14          248            13           0          741
    4/15/2020    451            49            16          280            18           0          814
    4/16/2020    473            64            18          279            23           0          857
    4/17/2020    465           113            18          296            25           0          917
    4/18/2020    479           145            21          305            26           0          976
    4/19/2020    495           155            22          309            29           0         1010
    4/20/2020    497           205            22          319            33           0         1076
    4/21/2020    540           220            23          323            49           0         1155
    4/22/2020    566           248            24          342            52           0         1232
    4/23/2020    620           302            24          357            53           0         1356
    4/24/2020    649           380            25          336            98           0         1488
    4/25/2020    730           383            26          317           124           0         1580
    4/26/2020    799           385            27          319           124           0         1654
    4/27/2020    1046          390            28          330           124           0         1918
    4/28/2020    1314          404            30          335           132           0         2215
    4/29/2020    1534          414            31          343           132           0         2454
    4/30/2020    1692          426            33          349           132           0         2632
     5/1/2020    1842          509            36          343           146           0         2876
     5/2/2020    1919          515            37          349           147           0         2967
     5/3/2020    1926          515            38          350           148           0         2977
     5/4/2020    1984          543            40          356           149           0         3072
     5/5/2020    2066          561            41          359           149           0         3176
     5/6/2020    2100          559            42          365           149           0         3215
     5/7/2020    2646          591            44          244           278           0         3803
     5/8/2020    3082          619            45          248           279           0         4273
     5/9/2020    3330          624            46          250           279           0         4529
    5/10/2020    3319          656            48          250           279           0         4552
    5/11/2020    3379          656            49          250           279           0         4613
    5/12/2020    2817          1288           50          279           279           0         4713
    5/13/2020    2820          1353           51          266           282           0         4772
    5/14/2020    2322          1809           52          272           284           0         4739


1
 Numbers obtained from www.bop.gov/coronavirus on a daily basis. There is good reason to believe that the numbers reported by the BOP understate the actual number
of tested-positive cases. Compare M. Licon-Vitale, MCC Ward, and D. Edge, MDC Warden, Response to EDNY Administrative Order 2020-14 (Apr. 7, 2020) at
https://www.nyed.uscourts.gov/pub/bop/MDC_20200407_042057.pdf (3 positive inmates at MDC Brooklyn) with COVID-19 Cases Federal Bureau of Prisons (Apr. 7, 2020)
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                                                  Case 8:17-cr-00302-WFJ-CPT Document 73-1 Filed 06/09/20 Page 2 of 5 PageID 638




                                                 BOP-Reported COVID-19 Test Results Nationwide
 6000


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                                     Number of Positive Inmates           Number of Recovered Inmates          Number of Inmate Deaths
                                     Number of Positive Staff             Number of Recovered Staff            Number of Staff Deaths




                                                  BOP-Reported COVID-19 Test Results Nationwide
                          6000                                                                                                                         70


                          5000                                                                                                                         60


                                                                                                                                                       50
  Positive Test Results




                          4000

                                                                                                                                                       40
                                                                                                                                                            Deaths




                          3000
                                                                                                                                                       30

                          2000
                                                                                                                                                       20

                          1000                                                                                                                         10


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                                     Number of Positive Inmates                 Number of Recovered Inmates                 Number of Positive Staff
                                     Number of Recovered Staff                  Total BOP Cases                             Number of Inmate Deaths
                                     Number of Staff Deaths
                               Case 8:17-cr-00302-WFJ-CPT Document 73-1 Filed 06/09/20 Page 3 of 5 PageID 639




       COVID-19 Rate of Infection for Various Populations


                                                                        Infection
                                                        Infections/      Rate as
                                                           1,000       Percent of
      Location             Cases      Population          People       Population
   BOP
   Imprisoned
   Population        5,0432        148,9033             33.87          3.3868%
   United States     1,698,5814    329,707,7735         5.15           0.5152%
   China             84,1046       1,394,015,9777       0.06           0.0060%
   Italy             231,1398      62,402,6599          3.70           0.3704%


                                     BOP has an infection rate X times higher
Compared to the United States        6.57
Compared to China                    561.35
Compared to Italy                    9.14




                    COVID-19 Infections per 1,000 People
                      Bureau of Prisons    United States      China   Italy


                   33.87




                                    5.15
                                                                      3.70
                                                     0.06

                                   Infections/ 1,000 People




  2
    Includes the number of BOP inmates who have tested positive for COVID-19, the number of BOP inmates who have recovered, and the number of BOP inmates who have
  died from COVID-19. Numbers obtained from www.bop.gov/coronavirus on a daily basis. There is good reason to believe that the numbers reported by the BOP understate
  the actual number of tested-positive cases. Compare M. Licon-Vitale, MCC Ward, and D. Edge, MDC Warden, Response to EDNY Administrative Order 2020-14 (Apr. 7, 2020)
  at https://www.nyed.uscourts.gov/pub/bop/MDC_20200407_042057.pdf (3 positive inmates at MDC Brooklyn) with COVID-19 Cases Federal Bureau of Prisons (Apr. 7,
  2020) at www.bop.gov/coronavirus (2 positive inmates at MDC Brooklyn).
  3
    Includes the number of federal inmates in BOP-managed institutions, the number of federal inmates in community-based facilities, and the number of federal inmates
  who have died from COVID-19. Numbers obtained from www.bop.gov/coronavirus on a daily basis.
  4
    Numbers obtained on 5/27/2020 at 8:01pm from https://coronavirus.jhu.edu/map.html
  5
    Numbers obtained on 5/27/2020 at 8:03pm from https://www.census.gov/popclock/
  6
    Numbers obtained on 5/27/2020 at 8:01pm from https://coronavirus.jhu.edu/map.html
  7
    Numbers obtained on 5/27/2020 at 8:03pm from https://www.census.gov/popclock/
  8
    Numbers obtained on 5/27/2020 at 8:01pm from https://coronavirus.jhu.edu/map.html
  9
    Numbers obtained on 5/27/2020 at 8:03pm from https://www.census.gov/popclock/
                         Case 8:17-cr-00302-WFJ-CPT Document 73-1 Filed 06/09/20 Page 4 of 5 PageID 640




       Rate of Rise of Reported COVID-19 Cases in                                                                   Rate of Rise of COVID-19 Infections
                   Bureau of Prisons10                                                 250.00%

           and the United States11, Every 3 Days                                       200.00%

                                                                                       150.00%


                                                    Cumulative                         100.00%                Cumulative
                                                                     Number of
                   Number of       BOP Rate of      BOP Rate of                      U.S. Rate of             U.S. Rate of
       Date                                                           National          50.00%
                   BOP Cases          Rise           Rise Since                          Rise                  Rise Since
                                                                       Cases
                                                     3/20/2020                                                3/20/2020
                                                                                          0.00%
     3/20/2020         2              0.00%            0.00%            18,747          0.00%                0.00%




                                                                                                  3/20/2020


                                                                                                               3/27/2020


                                                                                                                           4/3/2020


                                                                                                                                      4/10/2020


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                                                                                                                                                              4/24/2020


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                                                                                                                                                                                                5/15/2020


                                                                                                                                                                                                            5/22/2020
     3/23/2020         6             200.00%          200.00%           44,183         135.68%              135.68%
     3/26/2020         18            200.00%          400.00%           85,356         93.19%               228.87%
     3/29/2020         39            116.67%          516.67%          140904          65.08%               293.95% BOP Rate of Rise          U.S. Rate of Rise
      4/1/2020         97            148.72%          665.38%          213144          51.27%               345.21%
      4/4/2020        182            87.63%           753.01%          304826          43.01%               388.23%
      4/7/2020        321            76.37%           829.39%          395011          29.59%               417.81%
     4/10/2020        513            59.81%           889.20%          492,416         24.66%               442.47%
     4/13/2020        633            23.39%           912.59%          579,005         17.58%
                                                                                                         Cumulative
                                                                                                            460.06%
                                                                                                                     Rate of Rise of COVID-19 Infections
     4/16/2020        857            35.39%           947.98%          661,712         1400.00%
                                                                                       14.28%               474.34%
     4/19/2020        1010           17.85%           965.83%          746,625         1200.00%
                                                                                       12.83%               487.17%
     4/22/2020        1232           21.98%           987.81%          828,441         1000.00%
                                                                                       10.96%               498.13%
     4/25/2020        1580           28.25%          1016.06%          928,619         12.09%
                                                                                        800.00%             510.23%
     4/28/2020        2215           40.19%          1056.25%          981,246          5.67%
                                                                                        600.00%             515.89%
      5/1/2020        2876           29.84%          1086.09%         1,062,446         8.28%
                                                                                        400.00%             524.17%
      5/4/2020        3072            6.82%          1092.91%         1,152,372         8.46%
                                                                                        200.00%             532.63%
      5/7/2020        3803           23.80%          1116.70%         1,219,066         5.79%
                                                                                          0.00%             538.42%
     5/10/2020        4552           19.69%          1136.40%         1,300,696         6.70%               545.12%
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     5/13/2020        4772            4.83%          1141.23%         1,364,061         4.87%3/             549.99%




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     5/16/2020        4856            1.76%          1142.99%         1,446,196         6.02%               556.01%
     5/19/2020        5037            3.73%          1146.72%         1,504,830         4.05%               560.06% Cumulative BOP Rate of Rise Since 3/20/2020
     5/22/2020        5288            4.98%          1151.70%         1,571,617         4.44%               564.50% Cumulative U.S. Rate of Rise Since 3/20/2020
     5/25/2020        5348            1.13%          1152.83%         1,637,456         4.19%               568.69%




10
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at www.bop.gov/coronavirus (2 positive inmates at MDC Brooklyn).
11
   Numbers obtained from https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html
                         Case 8:17-cr-00302-WFJ-CPT Document 73-1 Filed 06/09/20 Page 5 of 5 PageID 641




Number of Reported COVID-19 Cases in Bureau of                                                                COVID-19 Case Comparison,
 Prisons12 and the United States13, 31 Days Since                                                         31 Days Since First Reported Infection
             First Reported Infection                                                  1200

                                                                                       1000

                                                                                         800
     Day of Known                      BOP                         U.S.
                       BOP Date                   U.S. Date                              600
     COVID-19 Case                  Infections                  Infections
                                                                                         400
        Day 1         3/20/2020          2        1/22/2020         1
                                                                                         200
        Day 2         3/21/2020          3        1/23/2020         1
        Day 4         3/23/2020          6        1/25/2020         2                      0
        Day 5         3/24/2020          9        1/26/2020         5




                                                                                                Day 1
                                                                                                Day 2
                                                                                                Day 4
                                                                                                Day 5
                                                                                                Day 7
                                                                                                Day 8
                                                                                               Day 10
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                                                                                               Day 12
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                                                                                               Day 25
                                                                                               Day 26
                                                                                               Day 27
                                                                                               Day 28
                                                                                               Day 29
                                                                                               Day 30
                                                                                               Day 31
        Day 7         3/26/2020          18       1/28/2020         5
        Day 8         3/27/2020          27       1/29/2020         5                                                 BOP Infections       US Infections
        Day 10        3/29/2020          38       1/31/2020         7
        Day 11        3/30/2020          52       2/1/2020          8
        Day 12        3/31/2020          59       2/2/2020          8
        Day 13        4/1/2020           94       2/3/2020          11
        Day 14        4/2/2020          114       2/4/2020          11
        Day 15        4/3/2020          141       2/5/2020          11
        Day 16        4/4/2020          174       2/6/2020          11
        Day 17        4/5/2020          197       2/7/2020          11
        Day 18        4/6/2020          259       2/8/2020          11
        Day 19        4/7/2020          313       2/9/2020          11
        Day 20        4/8/2020          377       2/10/2020         11
        Day 21        4/9/2020          437       2/11/2020         12
        Day 22        4/10/2020         513       2/12/2020         12
        Day 23        4/11/2020         556       2/13/2020         13
        Day 24        4/12/2020         582       2/14/2020         13
        Day 25        4/13/2020         633       2/15/2020         13
        Day 26        4/14/2020         741       2/16/2020         13
        Day 27        4/15/2020         814       2/17/2020         13
        Day 28        4/16/2020         857       2/18/2020         13
        Day 29        4/17/2020         917       2/19/2020         13
        Day 30        4/18/2020         976       2/20/2020         13
        Day 31        4/19/2020        1010       2/21/2020         13




12
   Numbers obtained from www.bop.gov/coronavirus on a daily basis. There is good reason to believe that the numbers reported by the BOP understate the actual number
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at www.bop.gov/coronavirus (2 positive inmates at MDC Brooklyn).
13
   Numbers obtained from https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html
